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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


                                                §
                                                §
ROTHSCHILD CONNECTED DEVICES                    §
INNOVATIONS, LLC,                               §   Case No: 2:15-cv-01877-JRG-RSP
                                                §
         Plaintiff,                             §   LEAD CASE
v.                                              §
                                                §
AMERICAN HONDA MOTOR CO., INC.,                 §
et al.,                                         §
        Defendants.                             §
                                                §
_____________________________________           §
                                                §
ROTHSCHILD CONNECTED DEVICES                    §
INNOVATIONS, LLC,                               §   Case No: 2:15-cv-01641-JRG-RSP
                                                §
         Plaintiff,                             §   CONSOLIDATED CASE
v.                                              §
                                                §
AT&T MOBILITY LLC,                              §
                                                §
         Defendant.                             §


                                      ORDER OF DISMISSAL

            The Court has considered the Agreed Motion for Dismissal filed by plaintiff Rothschild

     Connected Devices Innovations, LLC (“Plaintiff”) and defendant AT&T Mobility LLC. The

     Court is of the opinion that the motion for dismissal should be GRANTED.

            IT IS THEREFORE ORDERED that all of Plaintiff’s claims with respect to United

     States Patent No. 8,788,090 against defendant AT&T Mobility LLC are hereby dismissed with

     prejudice.
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       IT IS FURTHER ORDERED that all counterclaims brought by defendant AT&T

Mobility LLC against Plaintiff are dismissed as moot without prejudice.

       IT IS FURTHER ORDERED that all attorneys’ fees, costs of court and expenses with

respect to Plaintiff and defendant AT&T Mobility LLC shall be borne solely by the party

incurring the same.

       This is a final judgment.
        SIGNED this 3rd day of January, 2012.
       SIGNED this 8th day of May, 2016.




                                                   ____________________________________
                                                   ROY S. PAYNE
                                                   UNITED STATES MAGISTRATE JUDGE




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